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                                                                8%                                 DEFUTY


                               UN ITED STA TES DISTRICT CO URT
                                          D IST R IC T O F N E V A D A
         UNITED STATES OF AMERICA,                      )
                                                        )
                             Plaintiff,                 )
                                                        )
                v.                                      )            2:10-CR-361-LDCi(RJJ)
                                                        )
         OSCAR NOE SANCHEZ-LARIOS,                      )
                                                        )
                             Defendant,                 )
                                FIN A L O R DER O F FO RFEITU R E A S TO
                             D EFEND AN T O SCA R N O E SA N CH EZ-LA R IO S

                On October8,2010 (Docket//74),thisCourtentered a Preliminary OrderofForfeiture
         pursuantto Fed.R.Crim.P.32.2(b)(1)and (2);Title 18,United StatesCode,Section 924(d)(1),
         (2)(C),and(3)(B)and Title28,UnitedStatesCode,Section2461(c);Title21,United StatesCode,
         Section 88l(a)(11)andTitle28,United StatesCode,Section2461(c);Title21,UnitedStatesCode, :
19 J Section853(a)(l)and(a)(2)forfeitingpropertyofdefendantOSCAR NOE SANCHEZ-LAIUOSto
20       the United StatesofA m erica;
21              IT IS H EREBY O RDERED ,A D JU D GED ,A N D D ECREED pursuantto Fed.R ,Crim ,P

22 32.2(b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminaryOrderofForfeiture
23 is finalas to defendantO SCA R N OE SA N CHEZ-LA R IO S.
24              DATEDthis            dayof XV                        ,2011.  Mw       .

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